FORM VAN−122
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                          Case No.: 4:23−bk−06326−BMW

    HUSSAK MOTORSPORTS LLC                                      Chapter: 11
    aka HMS ENGINE & MACHINE
    3207 E COLUMBIA ST
    TUCSON, AZ 85714
    SSAN:
    EIN: 83−4010280

Debtor(s)


                                               ORDER DISMISSING CASE

         The debtor(s) having failed to file a list of creditors in the proper format as required by Local Bankruptcy Rule
         1007−1.
         The individual debtor(s) having failed to file a Credit Counseling Certificate as required by Fed. R. Bankr. P.
         1007(b)(3).
         The debtor(s) having failed to pay the filing fee as ordered by the court.
         The debtor(s) having failed to timely file the schedules and statements required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to timely file a Chapter 13 plan as required by Fed. R. Bankr. P. 3015.
         The debtor(s) having failed to timely submit the Statement of Social Security Number as required by Fed. R.
         Bankr. P. 1007(f).
         The individual debtor(s) having failed to file a Statement of Your Current Monthly Income and any additional
         forms as required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to file a Declaration of Evidence of Employer's Payments as required by Local
         Bankruptcy Rule 1007−1.
         The debtor(s) having failed to file a Declaration Under Penalty of Perjury for Debtors Without an Attorney as
         required by Local Bankruptcy Rule 1007−1.
         The debtor(s) having failed to appear and be examined at the meeting of creditors as required by 11 U.S.C. §
         341.
         After an Order to Show Cause why this case should not be dismissed was issued.
         The trustee having moved to dismiss this case.
         The debtor(s) having moved to dismiss this case.
         The debtor(s) having failed to timely file all required Official Forms as indicated by the court.




                                             −− Order continued on 2nd page −−




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   IT IS ORDERED that the above−captioned case be dismissed. Jurisdiction is retained over any matters arising
under 11 U.S.C. § 110.

   IT IS FURTHER ORDERED that any pending hearings, including any final hearing set on a motion for relief from
the automatic stay are vacated.

    IT IS FURTHER ORDERED that if the debtor wishes to reinstate this case, a motion for reinstatement must be
filed setting forth the reasons for the request.

   IT IS FURTHER ORDERED that even though this case has been dismissed, debtor(s) is/are required to pay all
outstanding fees due and owing to the court.

   IT IS FURTHER ORDERED that the Court shall not consider a motion for reinstatement of the case unless all fees
are paid in full or all required documents are filed.

   NOTICE IS ALSO GIVEN that the order was entered on the docket this date.

Date: September 20, 2023                                 BY THE COURT



Address of the Bankruptcy Clerk's Office:                Honorable Brenda Moody Whinery
U.S. Bankruptcy Court, Arizona                           United States Bankruptcy Judge
38 S. Scott Avenue
Tucson, AZ 85701−1704
Telephone number: (520) 202−7500
www.azb.uscourts.gov




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